      Case 1:12-cr-00012-KS-JCG           Document 440        Filed 09/14/17      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION


GLENN MICHAEL BONANO, JR.


VS.                                                        CRIMINAL NO. 1:12-cr-12-KS-JCG-1


UNITED STATES OF AMERICA


                             CERTIFICATE OF APPEALABILITY

       A final order adverse to the applicant having been filed in the captioned case, in which

the Petitioner filed a Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. §

2255, the Court considering the record in the case and the requirements of 28 U.S.C. § 2253,

Rule 22(b) of the Federal Rules of Appellate Procedure, and Rule 11(a) of the Rules Governing

Section 2254 and 2255 Cases in the United States District Courts, hereby finds that:

       A Certificate of Appealability should not issue. The applicant has failed to make a

substantial showing of the denial of a constitutional right, and the Court finds that the substantive

claim in Petitioner’s pleading has no merit..

       SO ORDERED this the __14th___ day of September, 2017.


                                                      __s/Keith Starrett ____________
                                                      UNITED STATES DISTRICT JUDGE
